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                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                   Newport News Division

 GAVIN GRIMM,                                      )
                                                   )
                        Plaintiff,                 )
                                                   )       Civil No. 4:15-cv-00054
 v.                                                )
                                                   )
 GLOUCESTER COUNTY SCHOOL                          )
 BOARD,                                            )
                                                   )
                        Defendant.                 )



                            DECLARATION OF DEIRDRE GRIMM

        1.      I am the mother of Plaintiff Gavin Grimm in the above-captioned action. I have

 actual knowledge of the matters stated in this declaration.

        2.      My name is Deirdre Anne Grimm.

        3.      I live in Gloucester County, Virginia.

        4.      I have been a Licensed Practical Nurse (“LPN”) for 30 years. I currently work for

 the American Addiction Treatment Center and Sentara Wound Care Center.

        5.      I understood for most of Gavin’s early life that he struggled with something, but

 he wasn’t able to put a name to it until later.

        6.      As a child Gavin was anxious. He never felt fully comfortable around people, and

 he had trouble being around big crowds at parties and events. Gavin’s demeanor changed

 noticeably when he transitioned and started to live authentically as a boy. He is now confident

 and comfortable with himself. He is not that shy, anxious kid anymore.

        7.      In April 2014, Gavin came out to me as transgender. I inadvertently opened the

 door by telling him about a conversation that I had recently had with another adult about their



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 transgender child. Gavin seized the moment, and said he had to tell me something. He was very

 nervous when he came out to me as transgender.

        8.       Gavin’s coming out did not change a thing about my love and support. I told him

 it didn’t change anything about how I felt about him. But I know it was a big deal for him

 because he wasn’t sure what to expect.

        9.      I was committed to supporting Gavin from day one. The first thing I did was

 spend three days and nights reading about transgender children and how I could support Gavin.

 My husband took a longer time to deal with it and really understand what Gavin was going

 through. He tried very hard to show support from the beginning, and his support for Gavin really

 transformed over several months.

        10.     At Gavin’s request, I took him to see a psychologist who specialized in treating

 transgender youth. She diagnosed him with gender dysphoria and gave us a treatment

 documentation letter advising that he should be treated as a boy in all respects.

        11.     Before Gavin began tenth grade in the fall of 2014, Gavin and I met with the

 school guidance counselor, Ms. Tiffany Durr, about Gavin’s transition. I presented her with

 Gavin’s legal name change order and his treatment documentation letter. Ms. Durr was very

 supportive of Gavin and was fully “on board” with using Gavin’s correct name and pronouns.

        12.     Gavin used the nurse’s bathroom for some time that fall, but he expressed

 concerns to me. Gavin said that it took him a long time to walk across the school to the nurse’s

 bathroom from his classes in D-hall. He also said he felt singled out and embarrassed, and that

 other students made comments pointing out that he was using a separate restroom, saying things

 like “what took you so long?” Gavin and I met with Ms. Durr and Principal Nate Collins and

 discussed Gavin’s concerns. Mr. Collins was very open to allowing Gavin to use the boys’




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 restroom. We all had a very reassuring conversation about Gavin’s safety, and I felt fully

 supported by Mr. Collins.

        13.     Gavin, Mr. Collins, and I all set a date on which Gavin would begin using the

 boys’ restrooms at school. Gavin began using the boys’ restrooms in October 2014.

        14.     On November 10, 2014, a friend of mine sent me a Facebook message, in which

 someone was urging people to go the Gloucester County School Board meeting the following

 evening, on November 11th. The message said that the School Board would be discussing and

 voting on Gavin using the boys’ restrooms.

        15.     I don’t remember if the message named Gavin, but I remember it was clear they

 were talking about my child and whether he should be allowed in the boys’ restroom. The post

 was clearly rallying people to go to the meeting and oppose a transgender student using the

 restrooms. Some of the comments were really terrible.

        16.     No one on the School Board ever contacted me or Gavin about the meeting. The

 first time I became aware of any problem was from the Facebook message I received.

        17.     After seeing the Facebook post, I started making a booklet of educational

 materials on what it means to be transgender. I included medical literature, information on

 suicide rates for transgender children, and information pulled from transgender equality

 websites. I made one booklet for every School Board member and took those booklets to the

 meeting and gave them to the members.

        18.     When Gavin and I spoke about it, we never considered not going to the School

 Board meeting. They were going to be talking about Gavin, my child, and I had no doubt that I

 had to be there. Gavin was also set on going. He has always been the kind of kid who will fight

 for himself if people are going to be making decisions about his life.




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        19.     Prior to the meeting I knew nothing about the School Board’s proposal. All I

 knew was that they were discussing my son and whether or not he should be allowed to use the

 boys’ restroom. I was not aware of any plans to restrict boys’ and girls’ restrooms by “biological

 sex,” or to create a third restroom option for “unisex” usage.

        20.     I didn’t really know what to expect at the School Board meeting, but I really

 didn’t expect it to be as brutal as it was. Gavin and I sat and listened to adult members of our

 community stand up and insult Gavin. I remember them calling my child an “it” and a “freak,”

 and I remember thinking I worked in this community for 17 years as a nurse. I have been at

 many of these people's houses taking care of their moms and dads. I loved my community, and I

 remember thinking, how could people be calling my kid these names?

        21.     I remember one adult after another getting up there and talking about things that I

 don’t even think were appropriate for them to be talking about. These people were talking about

 his private body parts. I just remember how appalled I felt for Gavin and how scared it made me

 that he wouldn't be able to struggle and live through all of this. Based on what I had read about

 transgender youth and the suicide risks, I was already scared for Gavin’s life. Then we went to

 this horror show of a school board meeting, and it just made me even more fearful of the impact

 on him of his community not accepting him.

        22.     When the School Board said it would be installing separate single-stall restrooms

 Gavin and I talked about the new restrooms, and he was very upset about it. He didn’t want to

 use them because he is not “unisex;” he is a boy. I remember him saying they may as well put a

 flashing light that says “Gavin” above the new restrooms, because everyone knew they were

 created for him, and only he was forced to use them.




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        23.     The School Board voted on December 9, 2014, to issue a policy preventing Gavin

 from using the boys’ restrooms. Gavin was seriously distressed by this policy. He felt so

 validated when he was allowed to use the boys’ bathroom at school, just like a normal boy. He

 had never felt like a normal boy up to that point because he hadn’t been validated that way. They

 gave him that validation, and then they took it away.

        24.     From that point, high school was especially difficult for Gavin. One night at the

 beginning of his year in eleventh grade, I found him sobbing on the bathroom floor, and he

 begged me to take him somewhere because he was having thoughts of suicide. So I took him to

 Virginia Commonwealth University Medical Center to get him help. They put him on the boys’

 ward, which was very validating to him. He was treated like any other boy.

        25.     One time, Gavin called me and asked me to pick him up from a football game

 because there was no bathroom for him to use after school. There was no single-user restroom at

 the football field, and he wasn’t allowed to use the men’s room. Gavin told me he felt like his

 bladder was about to burst. It was like a gut punch to me, as a mom. If you don’t have an issue

 accessing bathrooms, you don’t think about how hard it is for somebody who does. But Gavin

 lived that reality every day in high school.

        26.     Gavin had frequent urinary tract infections during his high school years. He

 would hold his urine during the day and have to use the restroom as soon as he got home. We

 kept boxes of AZO, an over-the-counter medication for urinary tract infections, always stocked

 at home to in order to give him some relief from the pain.

        27.     Not only has the School Board ruined my son’s high school years, but now

 they’re affecting his college years too. Gavin wanted to have the gender marker on his school

 records changed to “male” before he applied to college. When Gavin was issued an updated birth




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 certificate listing his gender as male, it was a celebration for us because we thought he could

 finally get his school records changed too. I personally walked an official copy of that document

 into the Gloucester High School guidance department and handed it to the office secretary. They

 gave me the impression it would be no problem for them to update Gavin’s records, but when

 Gavin started requesting his transcript to apply to colleges, he realized they had refused to list his

 gender as male.

        28.     When I learned the Board is now saying Gavin could have used the boys’

 restroom his senior year if they thought he had presented a valid birth certificate, I was furious.

 In all these years, no one from the High School or the School Board ever said a word to me or

 Gavin indicating there was any problem with his birth certificate. For them to come back and say

 that now feels like a slap in the face. It makes me so upset that they have treated my kid this way.

        29.     Gavin is a strong kid, but this whole experience has taken a big toll on him and on

 our entire family. As a parent, you want to protect your child and keep him from harm. It broke

 my heart to watch him suffer and not be able to do anything to stop it. And he was being hurt by

 his own School Board, which should have been protecting him.




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